         Case 2:11-cv-00761-RJS Document 114 Filed 08/31/15 Page 1 of 2



Frank D. Mylar (5116)
MYLAR LAW, P.C.
2494 Bengal Blvd.
Cottonwood Heights, UT 84121
Phone: (801) 858-0700
FAX: (801) 858-0701
Mylar-Law@comcast.net

Attorney for County Defendants

             IN THE UNITED STATES DISTRICT COURT, DISTRICT OF UTAH

                                       CENTRAL DIVISION


    LAURIE S. JENKINS,
                                                          STIPULATED MOTION TO
                                                          DISMISS ALL CLAIMS WITH
                Plaintiff,
                                                          PREJUDICE
        v.
                                                          Case No. 2:11-CV-761
    UTAH COUNTY et al.,
                                                          Judge Robert J. Shelby
                Defendants.


       Plaintiff, Laurie S. Jenkins, through her attorney, Alyson Carter McAllister, and

Defendants Todd McAllister and Vickie Nostrum, including previous defendants awarded

summary judgment, through their attorney, Frank D. Mylar move this Court and Stipulate to

Dismissal of this entire lawsuit with prejudice based upon a prior settlement agreement. This

dismissal is based upon the following stipulation:

       1. The parties agree that this case will be costly to litigate at trial and, therefore, have

reached a compromise to resolve this litigation. Specifically, the parties do not admit to any

infirmity in their respective claims through this settlement. To the contrary, Defendants believe

they would ultimately prevail on their claims as does the Plaintiff.
         Case 2:11-cv-00761-RJS Document 114 Filed 08/31/15 Page 2 of 2



       2. The Plaintiffs agree to dismiss this suit with prejudice, forgoing any right to appeal

any issue or claim arising out of the allegations of the pleadings.

       3. All parties agree to bear their own attorney fees and costs.

       4. All parties request that the Court enter its order in conformity with this motion and

stipulation, dismissing the entire lawsuit with prejudice including any possible John Doe

Defendants.

       5. Neither party is considered a prevailing party for any purpose.



Dated this 31st day of August, 2015.

                                                      /s/ Alyson Carter McAllister
                                                      ______________________________
                                                      Alyson Carter McAllister
                                                      Attorney for Plaintiff

                                                      /s/ Frank D. Mylar
                                                      ______________________________
                                                      Frank D. Mylar
                                                      Attorney for Defendants
